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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Maplevale Farms, Inc., et al.
                                     Plaintiff,
v.                                                     Case No.: 1:16−cv−08637
                                                       Honorable Thomas M. Durkin
Mar−Jac Holdings, Inc., et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 25, 2021:


         MINUTE entry before the Honorable Jeffrey T. Gilbert: The Mar−Jac Defendants
and, if necessary, the Simmons Defendants shall respond to the United States' Emergency
Ex Parte Motion For A Limited Lift Of Order Sealing ECF No. [3617] by 12:30 p.m.
Central time today, 10/25/21. The United States shall file the Motion via the CM/ECF
system. The Court does not see the need to file the Motion or the attachments under seal
but if the United States disagrees it is given leave to file the Motion provisionally under
seal with an accompanying motion to seal explaining the need to seal the Motion and/or
attachments. Mailed notice(ber, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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